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  8                             UNITED STATES DISTRICT COURT
  9                          SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                    CASE NO. 01cr1652 JM
 12                                           Plaintiff,            ORDER GRANTING IN PART AND
               vs.                                                  DENYING IN PART MOTION FOR
 13                                                                 TRANSCRIPTS
       VIKTOR SAVCHENKO, et al.,
 14
                                            Defendant.
 15
             In order to prepare a traverse to his motion brought pursuant to 28 U.S.C. §2255, Defendant
 16
      moves to be provided with a copy of all pretrial, trial, and sentencing transcripts in his case as well
 17
      as all transcripts from the pretrial, trial and sentencing proceedings of his co-defendants. The court
 18
      notes that Defendant has already been provided at taxpayer expense two complete copies of his
 19
      pretrial, trial, and sentencing transcripts for purposes of appeal at taxpayer expense. The court grants
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      the motion in part and denies the motion in part. The motion is granted to the extent Defendant
 21
      requests transcripts of his pretrial, trial, and sentencing proceedings. The court denies the request for
 22
      transcripts related to the proceedings of the co-defendants because Defendant fails to make a
 23
      particularized showing that such transcripts are necessary to adequately prepare a traverse to the
 24
      §2255 motion.
 25
             IT IS SO ORDERED.
 26
      DATED: May 22, 2009
 27
 28                                                        Hon. Jeffrey T. Miller
                                                           United States District Judge

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  1   cc:       All parties

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